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B26 (Official Form 26) (12/08)

United States Bankruptcy Court
_ CODD strict + "Nevada.

Anthony .
Inre_fony ¢ Weadds Thang Case No. -SO

Debtor Chapter 11

PERIODIC REPORT REGARDING VALUE, OPERATIONS AND PROFITABILITY OF
ENTITIES IN WHICH THE ESTATE OF [NAME OF DEBTOR]
HOLDS A SUBSTANTIAL OR CONTROLLING INTEREST

 

This is the report as of q -} Y-2olGon the value, operations and profitability of those
entities in which the estate holds a substantial or controlling interest, as required by Bankruptcy

Rule 2015.3. The estate of | holds a substantial or controlling interest in the
following entities: t t Thamas.

Name of Entity Interest of the Estate Tab #

AV Everald LLC 12d Ye

 

 

 

 

 

 

 

 

 

 

This periodic report (the “Periodic Report”) contains separate reports (“Entity Reports”) on the
value, operations, and profitability of each. entity listed above.

Each Entity Report shall consist of three exhibits. Exhibit A contains a valuation estimate
for the entity as of a date not more than two years prior to the date of this report. [t also contains
a description of the valuation method used. Exhibit B contains a balance sheet, a statement of
income (loss), a statement of cash flows, and a statement of changes in. shareholders’ or partners’
equity (deficit) for the period covered by the Entity Report, along with summarized footnotes.
Exhibit C contains a description of the entity’s business operations.

THIS REPORT MUST BE SIGNED BY A REPRESENTATIVE OF THE TRUSTEE OR DEBTOR IN
POSSESSION.

The undersigned, having reviewed the above listing of entities in which the estate of [Debtor]
holds a substantial or controlling interest, and being familiar with the Debtor's financial affairs,
verifies under the penalty of perjury that the listing is complete, accurate and truthful to the best

of his/her knowledge.
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Date: _4-)U/- 2014

 

Manges ot ATE metal d LLG
Title of Authidrized Individual

{If the Debtor is an individual or in a joint case]

    
  

Signature(s) of Debtor(s) (Iindividual/Joint)

 

Mj phrel DD WeA——
‘= of Joint Debtor

 

 
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Exhibit A
Valuation Estimate for [Name of Entity]

[Provide a statement of the entity’s value and the value of the estate’s interest in the entity,
including a description of the basis for the valuation, the date of the valuation and the valuation
method used. This valuation must be no more than ht old. Indicate the source of this

information yer 7.06, O0O 000 ANPTaIsed Value of Emanld 200%
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Exhibit B
Financial Statements for [Insert Name of Entity]
None He Idina Company
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Exhibit B-1
Balance Sheet for [Name of Entity]
As of [date]

[Provide a balance sheet dated as of the end of the most recent six-month period of the current
fiscal year and as 4 the end of the receding fiscal year. Indicate the source of this information. ]

None Hatch ing Company)
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Exhibit B-2
Statement of Income (Loss) for [Name of Enti
Period ending [date]

[Provide a statement of income (loss) for the following periods:

(i) For the initial report:
a. the period between the end of the preceding fiscal year and the end of the
most recent six-month period of the current fiscal year; and
b. the prior fiscal year.
(ii) For subsequent reports, since the closing date of the last report.

Indicate the source of this information.] None Holding Compaay
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Exhibit B-3

Statement of Cash Flows for [Name of Entity}
For the period ending [date]

(Provide a statement of changes in cash flows for the following periods:

(i) For the initial report:
a, the period between the end of the preceding fiscal year and the end of the
most recent six-month period of the current fiscal year; and
b, the prior fiscal year.
(ii) For subsequent reports, since the closing date of the last report.

Indicate the source of this information. ] Na ne_ He (cl Ce mpany
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8
Exhibit B-4 ATE ( 4 fie.
Statement of Changes in Shareholders’/Partners’ Equity (Deficit) for [Name-of atity]
period ending [date]

None.

(Provide a statement of changes in shareholders’ /partners equity (deficit) for the following
periods:

(i) For the initial report:
a. the period between the end of the preceding fiscal year and the end of the
most recent six-month period of the current fiscal year; and
b. the prior fiscal year.
(ii) For subsequent reports, since the closing date of the last report.
None. Helcking Company

Indicate the source of this information.]

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ExhibitC aT ementd de

Description of Operations for
(Describe the nature and extent of the estate’s interest in the entity.

Describe the business conducted and intended to be conducted by the entity, focusing on the
entity’s dominant business segment(s). Indicate the source of this information. ]

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